Revised 05/08

                                                          United States Bankruptcy Court
                                                                 Eastern District of Michigan
  In re         Tanisha Kali Jones                                                                        Case No.
                                                                             Debtor(s)                    Chapter         13


                                                       BANKRUPTCY PETITION COVER SHEET

(The debtor must complete and file this form with the petition in every bankruptcy case. Instead of filling in the boxes on the petition requiring
information on prior and pending cases, the debtor may refer to this form.)
                                                                            Part 1
"Companion cases," as defined in L.B.R. 1073-1(b), are cases involving any of the following: (1) The same debtor; (2) A corporation and any
majority shareholder thereof; (3) Affiliated corporations; (4) A partnership and any of its general partners; (5) An individual and his or her general
partner; (6) An individual and his or her spouse; or (7) Individuals or entities with any substantial identity of financial interest or assets.
Has a "companion case" to this case ever been filed at any time in this district or any other district? Yes X    No
(If yes, complete Part 2.)
                                                                         Part 2
For each companion case, state in chronological order of cases: (Attach supplemental sheets if necessary.)
                           First Case                              Second Case                             Third Case
 Name on petition          Tanisha Kali Truvillion                 Tanisha K. Jones
 Relationship to this case Debtor                                  Debtor
 Case Number               99-48138                                05-75493
 Chapter                   7                                       13
 Date filed                05/17/1999                              10/5/2005
 District                  Eastern District of Michigan            Eastern District of Michigan
 Division                  Southern                                Southern
 Judge                     Thomas J. Tucker                        Thomas J. Tucker
 Status/Disposition        Discharged                              Dismissed after confirmation

(Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)
If the present case is a Chapter 13 case, state for each companion case:
 Attorney                                Leon A. Grant                             Kevin FitzPatrick
 Legal fee              $                          $1200          $                         $2,952.50                 $
 Proposed legal fee in this case     $                 $3,000.00
Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.




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                                                        Part 3 - In a Chapter 13 Case Only
The Debtor(s) certify, re: 11 U.S.C. § 1328(f):
    [indicate which]
              Debtor(s) received a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
              Debtor(s) did not receive a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
              Debtor(s) received a discharge in a Chapter 13 case filed during the 2-years before filing this case.
              Debtor(s) did not receive a discharge in a Chapter 13 case filed during the 2-years before filing this case.

I declare under penalty of perjury that I have read this form and that it is true and correct to the best of my information and belief.
 /s/ Tanisha Kali Jones                                                                                       /s/ A. RITA KOSTOPOULOS
 Tanisha Kali Jones                                                                                           A. RITA KOSTOPOULOS P63178
 Debtor                                                      Debtor                                           Debtor's Attorney

 Date:      August 17, 2012                                                                                   KOSTOPOULOS & ASSOCIATES
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